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 1                                    DECLARATION OF SERVICE

 2          I hereby declare that on this day I electronically filed the foregoing document with the Clerk

 3   of the Court using the CM/ECF system, which will send notification of such filing to the attorneys

 4   of record listed below:

 5   Counsel for Plaintiffs George DC
     Parker II and Lori A. Parker:
 6   George DC Parker II
     Lori A. Parker
 7   10710 199th Street East
     Graham, WA 98338
 8
          Via Messenger
 9        Via Facsimile –
      X   Via U.S. Mail, postage prepaid
10
          Via Overnight Mail, postage prepaid
11    X   Via Court E-Service or email with recipient’s approval
          thenorsegypsyforge@gmail.com
12
            DATED at Seattle, Washington, this 23rd day of May, 2023.
13

14                                                 /s/ Justin E. Bolster
                                                   Justin E. Bolster, WSBA #38198
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     DEFENDANT’S MOTION TO SET ASIDE DEFAULT - 3            PREG O'DONNELL & GILLETT PLLC
     11010-0002 5910605                                                   901 FIFTH AVE., SUITE 3400
     NO. 3:23-cv-05069-RJB                                           SEATTLE, WASHINGTON 98164-2026
                                                             TELEPHONE: (206) 287-1775 • FACSIMILE: (206) 287-9113
